Case 1:17-cV-12995-RBK-.]S Document 1 Filed 12/12/17 Page 1 of 9 Page|D: 1
15“ ‘“"'°‘""’ CIVIL COVER SHEET

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Peter H. Demkovltz

Suite 2020 123 South Broad Street
Phi|adelphia, PA 19109

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Case 1:17-cV-12995-RBK-.]S Document 1 Filed 12/12/17 Page 2 of 9 Page|D: 2

MARKOWITZ. & RICHMAN

By: Peter H. Demkovitz, Esq. 75319
Suite 2020

123 South Broad Street

Philadelphia, PA 19109

(215) 875-3100

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CRAIG DOUGHTY, : CIVIL ACTION NO.
13 Yorkridge Trail ‘
Hockessin, DE 19707
Plaintiff
v. : JURY TRIAL DEMANDED
ATTORNEY GENERAL

JEFFERSON B. SESSOINS, III
and

THE DEPARTMENT OF JUSTICE

(FEDERAL BUREAU OF PRISONS) .
950 Pennsylvania Ave. N.W. :
Washington, D.C. 20530 '

Defendants

 

COMPLAINT

I. PRELIMINARY STATEMENT

This is a case in which the Department of Justice Federal Bureau of Prisons

(“Agency”) discriminated against the Complainant, Craig T. Doughty (“Doughty”) in violation of

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Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Section 2000e et seq. More
specifically, the Agency unlawfully denied Doughty a number of promotions and created a
hostile work environment in retaliation for his having invoked his right to a non-discriminatory

workplace, all on account of his race (White) and in retaliation for his EEO activity.

II. JURISDICTION AND VENUE

l. The cause of action set forth herein arises under Title VII of the Civil Rights
Act of 1964, 42 U.S.C. § 2000e et seq., as amended by the Civil Rights Act of 1991 (“Title VII”),
The Disl:rict Court has jurisdiction over the cause of action under 28 U.S.C. §§ 1331 and 1343 and
the First Amendment to the United States Constitution.

2. Venue is proper under 28 U.S.C. § l39l(b) in as much as all the causes of

action arose in the District of New Jersey.
III. PARTIES

3. Plajntiff, Craig Doughty, is a White male who served as a Special
Investigative Technician at the Federal Correction Institution in Fairton, NeW Jersey. Plaintiff
resides at 13 Yorkridge Trail, Hockessin, DE 19707.

4. Plaintiff was at all relevant times an employee as defined under Title VII

working for the Department of Justice Bureau of Prisons.

5. Defendant Attorney General Jeffrey B. Sessions, III is the Attomey General

of the United States being sued in his official capacity.

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6. Defendant Department of Justice (“DOJ”) is a department of the Executive
Branch of the United States Govemment. The Federal Bureau of Prisons (“BOP”) is a component
of` defendant DOJ. Def`endant DOJ is an “agency” within the meaning of 5 U.S.C. § 552(f`).

7. At all times material hereto, Defendants employed in excess of five hundred
(500) employees, including, at pertinent times, Piaintiff`.

8. At all times material hereto, Def`endant acted by and through its authorized
agents, servants, workmen and/or employees acting within the course and scope of their
employment with Defendant and in furtherance of Def`endant’s business

9. Plaintif’f comes within the protection of Title VII for claims of race-based
discrimination Plaintiff` is White.

IV. ADMINISTRATIVE PROCEDURES

lO. Plaintiff filed a timely charge of discrimination with the Equal Employment
Opportunity Of`fice of the Complaint Adjudication Of`fice of the United States Department of`
Justice (hereinatier the “agency”). On December 29, 2015, The Agency Complajnt Number is
BOP-20l6-0148 and DJ Number 187»3-4189

ll. On or about September ll, 2017, a Notice of` a Right to Sue was mailed to

PIaintiff`. (See attached). Commencement of this action is within ninety (90) days of receipt of` this

letter.

V. FACTUAL ALLEGATIONS

12. Plaintiff was a GS-9 Budget Analyst for BOP at the Federal Correctional

lnstitution, Fairton, New Jersey (“FCI”).

13. ln January 2014 Complainant filed an EEO complaint against the Agency

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alleging discrimination and harassment based upon race.

14. The initial complaint named Captain Morales and Lieutenant Keith
Hampton as harassing Complainant. Both were close friends of Assistant Warden Lamine
N’Diaye. The former is Hispanic and the latter two are Af`rican American.

15. The Agency refused to timely pay Complainant for overtime worked,

16. The Agency engaged in a series of harassing behavior, including but not
limited to, changing Complainant’s desk and then taunting him about the move; singling
Complainant out for a schedule change to have him work evening shift); assigning him bus duty
and replacing him on the Disturbance Control Team despite the fact that he was experienced and

had been acting Lieutenant.

17. Plaintiff filed a Complaint of discrimination against the Agency. The
Agency’s final determination is pending.

18. On or about October 21, 2015, Plaintiff learned that he was passed over
for the position of a GS-9 Lieutenant at FCI for which he applied.

19. The Agency selected Salvatore Rodio for the position of Lieutenant,
despite his having ten fewer years of experience than Plaintiff`, and despite the fact that Plaintiff
had often been Acting Lieutenant in the past.

20. Associate Warden Lamine N’Diaye selected Rodio over Plaintiff in
retaliation for Plaintif`f’s having filed a complaint of discrimination and having invoked his

federally protected rights under Title VII.

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VI. COUNT l
VIOLATION OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §2000e et seq.

21 . Plaintiff incorporates paragraphs l through 20 as if lillly set forth herein,
22. Defendant Philadelphia has discriminated against Plaintiff by denying him
the same rights enjoyed by non-White employees With respect to the terms and conditions of his
employment relationship in violation of Title VII and discriminated and retaliating against Plaintiff
for his having participated in EEO complaints and investigations
23. Plaintiff` was subject to harassment and retaliations by and through the
agents and supervisors of Defendants
24. Defendants actions were willfi.ll and malicious
25. As a consequence of Defendant’s actions and omissions as described herein,
Plaintiff has suffered substantial benefits of employment, embarrassment, humiliation, mental pain
and emotional distress
WHEREFORE, Plaintiffl respectfully requests this Court to assume jurisdiction and
to enter ajudgment in favor of Plajntiff and against Defendant:
(a) Declaring the acts and practices complained of herein to be in violation of
Title VII;

(b) Enjoining and restraining permanently the violations alleged herein;

(c) Awarding compensatory damages to make Plaintiff whole for all lost
earnings earning capacity and benefits, past and future, which Plaintiff has
suffered or may suffer as a result of defendants improper conduct;

(d) Awarding compensatory damages to Piaintiff` for past and future pain and

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suffering, emotional upset, mental anguish, humiliation, loss of life's

pleasures and damage to reputation;

(g) Awarding Plaintiff costs of this action, together with reasonable attomey's

fees and experts’ fees

(h) Granting such other and further relief as the Court deems appropriate

Z&Rl AN

 

BY: /
'TER MMKOVITZ
Attorneys for Plaintiff,
Craig Doughty

DATED: December 12, 2017

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Complaint Adjudication Office

Agency Complaint Number BOP-2016-014B
DJ Number 187-3-4189

 

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Patrr'ck Hemy Btrifdr`ng, Room AMIU
ll’ashmgton, DC 20530

Mr. Craig Doughty
13 Yorkridge Trail
Hockessin, DE 19707 SEP 1 2 2017

near Mr. Doughty:

This is in reference to the discrimination complaint that
you filed against the Federal Bureau of Prisons. Under the
Department of Justice's equal employment opportunity
regulations, the Complaint Adjudication Officer renders the
final Department of Justice decision on your complaint.
Enclosed is the final Department of Justice decision.

Rights of Appeal

First, you have the right to appeal any part of the
decision to the Equal Employment Opportunity Commission (EEOC).
You may do so by filing your appeal within 30 days of the date
you receive this decision. If you are represented by an
attorney of record, the 30-day appeal period shall begin to run
the day your attorney receives this decision. The appeal must
be in writing. The Commission prefers that you use EEOC Form
573, Notice of Appeal/Petition, a copy of which is attached, to
appeal this decision. The notice of appeal should be sent to
Carlton Haddon, Director, Office of Federal Operations, EEOC,
Post Office Box 77960, Washington, D.C., 20013, by mail,
personal delivery, or facsimile. You must also send a copy of
your notice of appeal to Mina Raskin, 320 First St. NW, Room
936, Washington, DC 20530. You must state the date and method
by which you sent the copy of your notice to Ms. Raskin either
on, or attached to, the notice of appeal you mail to the EEOC.

Second, you have the right to file a civil action in the
appropriate United States District Court within 90 days of the
date you receive this decision. In filing your federal
complaint, you should name Attorney General Jefferson B.
Sessions, III as the defendant. Even if you appeal this
decision to the EEOC, you still have the right to go to federal

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court. You may file a civil action in the United States
District Court within 90 days of the day you receive the
Commission's final decision on your appeal, or after 180 days
from the date you filed your appeal with the Commission, if the
Commission has not made a final decision by that time.

If you cannot afford to file a civil action, you can ask
the court to allow you to file the action at no cost to you.
The court may also provide you with an attorney if you cannot
afford to hire one to represent you in your civil action.
Questions concerning when and how to file a waiver of costs
should be directed to your attorney or the District Court clerk.

S` cerel ,

Ci

Robert K. Abraham _
Acting Complaint Adjudication Officer

cc: Richard Toscano
Mina Raskin

Peter H. Demkovitz

123 South Broad St.
Suite 2020
Philadelphia, PA 19109

